        Case 1:23-cv-01615-CKK Document 14 Filed 06/28/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MERCK & CO., INC.
               Plaintiff,
          v.
                                                     Civil Action No. 23-1615 (CKK)
 XAVIER BECERRA, U.S. Secretary of
 Health & Human Services, et al.,
               Defendants.


                                         ORDER
                                      (June 28, 2023)
         Pending before this Court is the parties’ [13] Joint Motion for Briefing Schedule

and for Other [Related] Relief. The parties move this Court to set a briefing schedule for

their cross-motions for summary judgment and for related relief. Upon consideration of

the Joint Motion, it is hereby this 28th day of June 2023,

         ORDERED that the parties’ [13] Joint Motion is GRANTED in PART and DENIED

in PART. The Court sets the following briefing schedule for the parties’ cross-motions for

summary judgment:

         1. Plaintiff shall file its motion for summary judgment and memorandum in support

thereof by July 11, 2023:

         2. Defendants shall file a single memorandum in support of their cross-motion for

summary judgment and opposing Plaintiff’s motion by September 11, 2023;

         3. Plaintiff shall file a combined reply in support of its motion and opposition to

Defendants’ cross-motion by October 19, 2023;

         4. Defendant shall file a reply in support of their cross-motion by November 21,

2023.
     Case 1:23-cv-01615-CKK Document 14 Filed 06/28/23 Page 2 of 2




       The page limits applicable to all summary judgment briefs identified above shall

be increased by 10 pages per brief, with reference to the page limitations established by

LCvR 7(e), which provides that “[a] memorandum of points and authorities in support of

or in opposition to a motion [for summary judgment] shall not exceed 45 pages and a reply

memorandum shall not exceed 25 pages, without prior approval of the Court.” LCvR 7(e).

       The requirement to provide separate statements of material facts in conjunction

with summary judgment briefing, LCvR 7(h)(1) SHALL apply to the parties’ cross-motions

for summary judgment in this matter, as the Court finds that there was insufficient

reasoning provided for waiving this requirement.

       Defendants need not file an Answer to the Complaint. The parties will file cross-

motions for summary judgment according to the schedule set forth above.



                                            ____________/s/__________________
                                            COLLEEN KOLLAR-KOTELLY
                                            UNITED STATES DISTRICT JUDGE
